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 7 Attorneys for Plaintiff
   Suzanna Bennes
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10                                 UNITED STATES DISTRICT COURT

11                NORTHERN DISTRICT OF CALIFORNIA — SAN JOSE DIVISION

12

13 SUZANNA BENNES,                                       Federal Case No.: 5:18-cv-02126-NC

14                  Plaintiff,

15          vs.                                          PLAINTIFF’S NOTICE OF VOLUNTARY
                                                         DISMISSAL OF DEFENDANT
16 LENDMARK FINANCIAL SERVICES,                          WAKEFIELD & ASSOCIATES, INC.
   LLC; et. al.,                                         D/B/A/ WAKEFIELD PAYMENT
17                                                       SOLUTIONS PURSUANT TO FEDERAL
                 Defendants.                             RULE OF CIVIL PROCEDURE 41(A)(1)
18

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20
     PLEASE TAKE NOTICE that Plaintiff Suzanna Bennes, pursuant to Federal Rule of Civil
21
     Procedure 41(a)(1), hereby voluntarily dismisses Defendant Wakefield & Associates, Inc. d/b/a/
22
     Wakefield Payment Solutions as to all claims in this action, with prejudice.
23
            Federal Rule of Civil Procedure 41(a)(1) provides, in relevant part:
24
            41(a) Voluntary Dismissal
25
            (1) By the Plaintiff
26
                    (a) Without a Court Order. Subject to Rules 23(3), 23.1(c), 23.2, and 66 and any
27
                        applicable federal statute, the plaintiff may dismiss an action without a court
28

                                                       1
                       PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
          Case 5:18-cv-02126-NC Document 9 Filed 07/03/18 Page 2 of 2



 1                     order by filing:

 2                      a notice of dismissal before the opposing party serves either an answer or a
                                motion for summary judgment.
 3
            Defendant Wakefield & Associates, Inc. d/b/a/ Wakefield Payment Solutions has neither
 4
     answered Plaintiff’s Complaint, nor filed a motion for summary judgment. Accordingly, the
 5
     matter may be dismissed against it for all purposes and without an Order of the Court.
 6

 7
     Dated: July 3, 2018                          Sagaria Law, P.C.
 8

 9                                             By:          /s/ Elliot W. Gale
                                                                     Elliot W. Gale
10                                             Attorneys for Plaintiff
11                                             Suzanna Bennes

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                      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
